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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                       v.

 MICHAEL A. SUSSMANN,                              Case No. 21-cr-582 (CRC)

                       Defendant.

                                             ORDER

       To ensure that the proceedings in this matter are conducted in a fair and orderly manner,

it is hereby ORDERED that the following rules shall govern these proceedings:

       (1) Trial of this matter will begin at 9:00 a.m. in Courtroom 27A unless otherwise
           instructed by this Court.

       (2) There will not be a public telephone line for listening to the proceedings.

       (3) All persons in any public area of the courthouse must wear a mask that covers the
           nose and mouth. Public areas include public elevators, public corridors, public
           restrooms, the atrium, and the cafeteria. Masks must be worn at all times in the
           courtroom, overflow courtroom, and Media Room, except by witnesses and attorneys
           addressing the Court.

       (4) Consistent with the Media Policy of the U.S. District Court for the District of
           Columbia, the use of electronic devices to take photographs, make audio or video
           recordings, or transmit live audio or video streaming in the Courthouse is prohibited
           at all times.

       (5) Courtroom 27A Seating

              a. Unless otherwise directed by courthouse staff, members of the public and the
                 press may sit in the third and fourth rows in the gallery on the right side of the
                 courtroom facing the bench; government and court personnel may sit in the
                 third and fourth rows on the left side of the courtroom facing the bench. The
                 second row of seating on the right side will be reserved for the defense.

              b. Seating for the press and the general public at the beginning of the trial day
                 and after each recess will be on a first-come, first-served basis until all seating
                 capacity is filled. Courthouse staff will be present to direct people to seats.
                 The Court will observe approximately three feet of social distancing in the
                 gallery.
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       c. Other than items authorized by this Court, cameras, tape recording devices,
          laptops, or other electronic equipment is not allowed in the courtroom.
          Cellular telephones are allowed in the courtroom, provided that the device is
          turned off or put in airplane mode (not set to “vibrate” mode) during the
          proceedings. Photographing, video and audio recording, or transmission
          of court proceedings is strictly prohibited. No person may tweet, blog, or
          otherwise make use of an electronic device within the courtroom.

       d. No conversations, inappropriate gestures, or activities that would disrupt the
          proceedings are permitted.

(6) Remote viewing

       a. To the extent available, there will be an overflow courtroom for video and
          audio transmission of proceedings. The location of the overflow courtroom
          will be posted daily outside Courtroom 27A. The same rules regarding
          electronic devices in Courtroom 27A apply to the overflow courtroom.
          Exhibits admitted into evidence and published to the jury will not be displayed
          in the overflow courtroom due to the technical inability to do so.

       b. The First Floor Media Room (Prettyman Courthouse – Room 1206) will be an
          additional remote location for video and audio transmission of proceedings.
          Exhibits admitted into evidence will be displayed in this room. No cameras,
          cellular telephones, or tape-recording devices may be used in this room.
          Members of the media may use laptops and tablets in this room for notetaking,
          live written reporting, blogging, and tweeting, but video and audio recording
          or transmission of court proceedings are strictly prohibited. Any violation of
          this policy may result in the banning of all laptops and tablets from the Media
          Room, the closing of the Media Room, the imposition of contempt sanctions
          against the violator individually, and, if attending in the capacity of an
          employee or agent, against the employer or principal. In addition, members of
          the media who violate this policy will be prohibited from entering the
          courthouse and annex with electronic devices in the future.

(7) Members of the public or press who wish to view the proceedings from Courtroom
    27A, the overflow courtroom, or the Media Room must comply with any requests
    made by any Court Security Officer, United States Marshal, or court staff. Members
    of the press must display credentials if requested by court staff or the U.S. Marshal’s
    Service.

(8) The original exhibits admitted in evidence and published to the jury will not be
    available to the public for copying or inspection during trial. The admitting party
    shall make available to the media at the end of the trial day a copy of any admitted
    exhibit that has been published to the jury and not restricted by the Court for
    dissemination. The government may make exhibits available using the “drop box”
    technical solution described in Standing Order 21-28, In re: Media Access to Video
    Exhibits.


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      (9) Juror Contact and Security

             a. Any attempt to contact or interact with jurors, to obtain the location of their
                job sites, or to otherwise ascertain their identities in any way is strictly
                prohibited.

             b. In accordance with Local Criminal Rule 24.2, conversations, interviews, and
                written communication with jurors or prospective jurors is prohibited. This
                includes communication with (1) prospective jurors before completion of voir
                dire, and (2) selected jurors, including alternate jurors, before the Court has
                discharged the members of the jury at the conclusion of their jury service.

             c. After the Court has discharged the jury for the final time, any juror may
                consent to speak with whomever they please concerning the case; however no
                juror is obligated to do so and there must not be further attempts to talk to a
                juror who has indicated a desire not to discuss the case.

      (10) Interviews of trial participants or press conferences may not be conducted inside the
          Courthouse. Members of the media, including camera crews, must not block or
          crowd entrances to the courthouse or annex as people are attempting to enter or exit,
          or in any other manner impede passage by any person who has business with the
          Courts.

      Any violation of any portion of this order may result in the imposition of contempt
      sanctions against the violator individually, and, if attending in the capacity of an
      employee or agent, against the violator’s employer or principal.



      SO ORDERED.




                                                           CHRISTOPHER R. COOPER
                                                           United States District Judge

Date: May 12, 2022




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